       Case 1:17-md-02800-TWT Document 852 Filed 10/17/19 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT .„ ,n ^ r,\£R\CS Off\ct
                 FOR THE NORTHERN DISTRICT OF GEORGIA atuus.D.c--^
                                ATLANTA DIVISION
                                                                          ^^^       si.c^

 IN RE EQUIFAX, INC., CUSTOMER                            ^£s^':;n^C^
                                             MDL DOCKET NO. J^to "' ^e^(
 DATA SECURITY BREACH                        ri7-md-2800-TWT
                                                                     ^o. .M^
                                                                     ^)^r"
                                              :17-mr1-9ftrm-TWT        W. ^ ^J^-'^A./

 LITIGATION
                                             CONSUMER CASES


  MOTION TO TELEPHONICALLY APPEAR AT FAIRNESS HEARING

      Shiyang Huang, Objector to all class-settlement motions [DS.C. 813],


respectfully requests to attend the fairness hearing telephonically for Good Cause.

Objector lives in Midwest—travel costs alone far exceeds $0.21 absentee recovery,


after 100+ hours already spent on pro se Objection [Doc. 813] with no formal legal

training and help from no one. Objector opposes Settlement's illusionary relief-


while "awarding 25% of a 'megafuncT would yield windfall" attorney fees, as "the


increase in recovery is merely a factor of the size of the class and lias no direct


relationship to the efforts of counsel". In re Bluetooth Headset Prods. Liab. Litig.,


654 F.3d 935, 942-43 (9th Cir. 2011). Objector also notifies the Court, that

Muransky v. Godiva Chocolatier, Inc., 922 F.3d 1175 (Hth Cir. 2019) is vacated


for en banc review—but all other underlying 1 1th Circuit precedents are still valid.


      Objector's Motion to Appear Telephonically should be GRANTED.

Dated: October 13,2019 Respectfully Submitted,



                                                     Shiyang Huang (pro se)
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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 13, 2019, I mailed the foregoing as

instructed by the settlement notice. Participants in the case will be served by the


settlement administrator and CM/ECF filing system.

                                Clerk of the Court
                            ATTN: l:17-md-2800-TWT
                            United States District Court
                            Northern District of Georgia
                               75 Ted Turner Dr, SW
                              Atlanta, GA 30303-3309

            Equifax Data Breach Class Action Settlement Administrator
                                ATTN: Objection
                          c/o JND Legal Administration
                                   P.O. Box 91318
                              Seattle, WA 98 111-9418




Date: October 13.2019




                                              /s/ c"-- •" T ' :>

                                              Shiyang Huang (pro se)
